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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
Vv. : Case No. 21-cr-00193-BAH
GREG RUBENACKER,

Defendant.

DEFENDANT’S NOTIFICATION OF INTENTION TO ENTER A PLEA
The Defendant is hereby notifying this Court that after plea negotiations with the
government failed to result in an agreement, it is his intention to enter a plea of guilty to the entire

indictment.

FACTUAL BACKGROUND

Defendant is charged via indictment with offenses related to crimes that occurred at the
United States Capitol on January 6, 2021. Specifically, Defendant in this case is charged with
engaging in acts of civil disorder, in violation of 18 U.S.C. § 231(a)(@); assaulting federal law
enforcement officers, in violation of 18 U.S.C. § 111(a)(1); obstructing an official proceeding, in
violation of 18 U.S.C. § 1512(c)(2); and unlawfully entering the United States Capitol building
and engaging in disorderly conduct, in violation of a series of misdemeanors.

As part of a joint Motion to continue the plea hearing that the parties filed on January 24,
2022, the parties notified the Court that the government and Defendant were unable to reach an
agreement and that the Defendant was now considering the possibility of entering a plea to the

entire indictment. As a result, the matter was adjourned to February 11, 2022.
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ARGUMENT

As Your Honor is aware, the parties had been engaged in plea negotiations. I am writing
to Your Honor to provide an update as to where the parties stand in regard to a potential resolution
of the case. For several months now, Mr. Rubenacker, after reviewing the information and
discovery received from the government, has persisted in the fact that it was his desire to take
responsibility for his actions on January 6" and enter into a plea agreement with the government.
Unfortunately, after many discussions between myself and the government over the last several
weeks, it has become apparent that we will not be able to an agreement.

Initially, the issue that was holding up a plea agreement was the government’s position that
as a condition of the plea agreement, which still had Mr. Rubenacker pleading to the top two counts
contained in the indictment, counsel and Mr. Rubenacker would not be permitted to contest the
government’s offense-level calculation. Unfortunately, this is not something that we could agree
to as it is our position that the government’s calculation improperly assesses eight points to Mr.
Rubenacker. It is our position that the Defendant should not lose the right to contest the addition
of these eight points in his pre-sentence memorandum and the Court should be permitted to make
its own determination after hearing the positions of the parties on the issue. As such, Your Honor
may recall from the joint Motion to continue the plea hearing filed on January 24, 2022, that Mr.
Rubenacker was contemplating entering a plea to the entire indictment.

Since the last Motion for continuance, an additional issue arose where another individual
who was facing charges in connection with January 6" was permitted recently to enter a plea
agreement where the government was dismissing the same top count that Mr. Rubenacker is

facing. It was and remains the Defendant’s position that the allegations against Mr. Rubenacker

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and the other individual are very similar and as such, we asked the government to reconsider their
plea offer to Mr. Rubenacker or explain why the two individuals were being treated differently.
After several conversations, the government indicated that they would not be willing to reconsider
their offer to Mr. Rubenacker.

I have discussed the situation at length with Mr. Rubenacker and after considering all of
the preceding information and the facts of his case, he has reiterated his desire to take responsibility
for any acts that he committed on January 6" and is prepared to plead guilty to the entire
indictment.

Dated: Melville, New York
February 7, 2022

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